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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
                 CRIMINAL ACTION NO. 16-10350-RGS

                     UNITED STATES OF AMERICA
                                     v.
                         WALLINGTON GARCIA

          MEMORANDUM AND ORDER ON DEFENDANT’S
        MOTION FOR REVIEW OF THE MAGISTRATE JUDGE’S
                     DETENTION ORDER

                               April 28, 2017

STEARNS, D.J.
     Before the court is defendant Wallington Garcia’s motion for review of
Magistrate Judge Hennessey’s January 27, 2017 Order detaining him
without bond.    Garcia does not contest the Magistrate Judge’s factual
findings, but maintains that he erred in his ultimate conclusion that no set
of conditions of release could reasonably assure the defendant’s appearance
at trial or the interim safety of the community.      The court heard oral
argument on the motion on April 27, 29017, with defendant present.
     After considering the arguments and memoranda of the parties, the
Memorandum and Order of the Magistrate Judge, and having reviewed the
exhibits presented at the detention hearing, I conclude that the Order should
be AFFIRMED. In this regard, I find the transcript of the October 27, 2016
conversation between Garcia (“Ariel”) and “Makarena,” when viewed in the
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context of the seizure of the six kilograms of drugs1 to be, if anything, more
incriminating than did the Magistrate Judge. Hence, I do not regard the
issue of the existence of probable cause to believe that Garcia was involved
in a serious drug offense to be at all “close.” I am also of the view that
Magistrate Judge Hennessey appropriately relied on the fact that, at the time
of the instant offense, defendant was serving on state probation as the result
of a felony drug conviction, that he had been found in violation of his
probation terms (specifically, he had traveled without permission to
Guatemala), and was as a consequence the subject of an outstanding
probation warrant. Finally, I believe that the Magistrate Judge appropriately
gave weight to defendant’s lack of candor with Pretrial Services in doubting
whether his promise to abide by terms of pretrial release could be trusted.
                                  ORDER

     For the foregoing reasons, the motion to vacate the Magistrate Judge’s

Order of Detention is DENIED.


                             SO ORDERED.


                             /s/ Richard G. Stearns
                             __________________________
                             UNITED STATES DISTRICT JUDGE




     1 The Magistrate Judge describes the drugs as cocaine.     The DEA-6
variously describes the drugs as fentanyl and heroin. The discrepancy is not
material.
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